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                              Exhibit 5




DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 21
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Joe Morrison

From:                           Belzberg, Adam S. <adam.belzberg@stoel.com>
Sent:                           Thursday, March 08, 2018 6:55 AM
To:                             Joe Morrison
Cc:                             Adam Berger (berger@sgb-law.com); Sasse, Shelley; Rachael Pashkowski
Subject:                        Re: Information Regarding Farm Labor Contractor Registration Requirement- Foreign
                                Entity



Thank you for the courtesy copy of the amended complaint. I do not have authority to accept service for CSI
Visa Processing, S.C.

Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101<x-apple-data-detectors://4/1>
Direct: (206) 386-7516<tel:(206)%20386-7516> | Fax: (206) 386-7500<tel:(206)%20386-7500>
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com> | www.stoel.com<http://www.stoel.com/>

On Mar 8, 2018, at 4:55 AM, Joe Morrison
<joe.morrison@ColumbiaLegal.org<mailto:joe.morrison@ColumbiaLegal.org>> wrote:

Good morning, Adam.

Attached is a courtesy copy of the Amended Complaint we filed yesterday afternoon. As I mentioned, I'll be out
on vacation through Mar 16th. In my absence, feel free to connect with Adam Berger who is co-counseling the
case with us. I also include Rachael Pashkowski who is prepared to send out an acceptance of service to you.

I also want to let you know that we'll be meeting with defense counsel for Sarbanand/Munger on March 21st at
3 p.m. at Adam's office for a Rule 26 conference. We hope you can join us in person or by phone. If that date is
not convenient, please feel free to suggest another. Since CSI's involvement is limited to the FLCA claims, we
assume it should be pretty straight-forward from your client's perspective.

Thanks for your help to date. We look forward to working with you cooperatively throughout the case.

Joe Morrison
(509) 662-9681 Ext. 125

-----Original Message-----
From: Joe Morrison
Sent: Wednesday, March 07, 2018 2:08 PM
To: 'Belzberg, Adam S.'
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

We've decided to amend our Complaint, Adam, and substitute CSI S.C. based on your representations to date.
We assume you will be willing to accept service on the company's behalf, but want to ask before sending an
acceptance of service your way. With that, we would hope that you would also be willing to share additional
information that you are presently holding back given that CSI S.C. will be a party.

Happy to discuss, although I am gone after the end of the today until March 19th.
                                                        1

           DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
           PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
           VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 22
                Case 2:18-cv-00112-JCC Document 15-5 Filed 04/04/18 Page 3 of 12

Joe Morrison
(509) 662-9681 Ext. 125

-----Original Message-----
From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Wednesday, March 07, 2018 11:51 AM
To: Joe Morrison
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Joe,

I don't have a copy of the signed agreement between CSI S.C. and Munger, but it is the same as the one I sent
you.

With respect to communications, both the Department of Labor and Industries and the Attorney General can
certainly confirm State of Washington's position for you that the only issue is whether or not, for a fee,
Defendant CSI Visa Processing U.S.A., LLC performed any farm labor contracting activity within the
boundaries of the State of Washington. Accordingly, your demand to see "the full range of communications
that took place" between CSI S.C. (who is not a party to this lawsuit) and Munger and Sarbanand is
unreasonable and unnecessary.

Regardless, as indicated below, there were no communications of any kind between CSI U.S.A. LLC and
Munger, Sarbanand or any other Munger entity. There were also no communications of any kind between CSI
S.C. and Munger, Sarbanand, or any other Munger entity about CSI U.S.A. LLC. The only communications
between CSI S.C. (who is not a party to this lawsuit) and any grower (including any Munger entity) solely
related to services that were performed in Mexico.

I'm happy to discuss this with you, but as I've also explained and as reflected in the attached ETA 790 and other
documents I sent you under which the two named plaintiffs were engaged by Munger and Crowne to work in
California, neither CSI entity played a role in any Munger entities transfer of the two plaintiffs or any other
workers to Washington in accordance with those entities ETA 790. Again, you've improperly named CSI Visa
Processing U.S.A. LLC in this lawsuit.

Thanks,

Adam

Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101
Direct: (206) 386-7516 | Fax: (206) 386-7500 adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com>


-----Original Message-----
From: Joe Morrison [mailto:joe.morrison@ColumbiaLegal.org]
Sent: Tuesday, March 06, 2018 2:02 PM
To: Belzberg, Adam S.
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity
                                                        2

          DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
          PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
          VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 23
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Thanks, Adam.

I really need to see the fully-executed contracts between all these entities. Also, in terms of communications,
I'm not limiting the scope of those communications (e.g. performing services within WA, etc.). We need to see
the full range of communications that took place between these entities regarding their business dealings to truly
evaluate the connections.

Joe Morrison
(509) 662-9681 Ext. 125


-----Original Message-----
From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Tuesday, March 06, 2018 9:40 AM
To: Joe Morrison
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Joe,

The contract between CSI S.C. and Crowne Cold Storage under which Guadalupe Tapia's visa was processed to
work for Crowne in California is attached. An unsigned copy (which is all I have at the moment) copy of the
contract between CSI S.C. and Munger under which Barbaro Rosas's visa was processed to work for Munger in
California. In terms of communications, I can say that there are no communications of any kind between CSI
U.S.A. and Munger, Crowne or Sarbanand (or any other person or entity). There are also no communications
between CSI S.C. and those grower entities about performing any of the services within the state of Washington
(or any state for that matter).

Thanks,

Adam

Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101
Direct: (206) 386-7516 | Fax: (206) 386-7500 adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com>


-----Original Message-----
From: Joe Morrison [mailto:joe.morrison@ColumbiaLegal.org]
Sent: Monday, March 05, 2018 1:15 PM
To: Belzberg, Adam S.
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Thanks again. In terms of communications, I assume there has to be some communications between the growers
and CSI S.C. Again, those would be helpful to evaluate the correct defendant.

Joe Morrison
(509) 662-9681 Ext. 125

                                                        3

          DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
          PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
          VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 24
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-----Original Message-----
From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Monday, March 05, 2018 12:44 PM
To: Joe Morrison
Subject: Re: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Yes. I'll be getting and sending you the contracts with the grower entities today. There are no communications
about them between the grower entities and the CSI you sued. In addition to not existing at the time, the
Washington entity wasn't used for anything.

Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101<x-apple-data-detectors://4/1>
Direct: (206) 386-7516<tel:(206)%20386-7516> | Fax: (206) 386-7500<tel:(206)%20386-7500>
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com><mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com><http://www.stoel.com/>

On Mar 5, 2018, at 12:38 PM, Joe Morrison
<joe.morrison@ColumbiaLegal.org<mailto:joe.morrison@ColumbiaLegal.org><mailto:joe.morrison@Columb
iaLegal.org>> wrote:

Thanks for sending these along, Adam. I'll take a look at them. Is the contract between the grower entities and
CSI coming along as well? I assume there's correspondence related to whatever contract was signed as well.

Joe Morrison
(509) 662-9681 Ext. 125

From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Monday, March 05, 2018 12:20 PM
To: Joe Morrison
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Joe,

There are no other written communications about this between CSI and L&I.

Here are the signed attestations of service agreement/contract receipt for:

·      Barbaro Rosas - Scan0054 processed under Munger in May of 2017 to work in California.

·     Guadalupe Tapia - Scan0055 page 4 processed under Crowne Cold Storage in May of 2017 to work in
California

Plaintiffs' Service Agreement with CSI Visa Processing S.C. (CSI) in Durango, Dgo. Mexico provides at clause
4 that ".el contratante tengo pleno conocimiento de quien será la patronal a partir del momento mismo en que
me sea autorizada la correspondiente visa de trabajo; teniendo pleno conocimiento de igual manera, del lugar
donde estará mi centro de trabajo y sobre todo del tipo de trabajo que realizare en los Estados Unidos de Norte
América y su respectivo salario y demás prestaciones a las que pudiera ser objeto."


·      Scan0060, is the service agreement signed by Barbaro Rosas.
                                                         4

        DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
        PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
        VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 25
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·    Scan0061 is the contract signed by Guadalupe Tapia.

Rosas and Tapia were not recruited by CSI. Like other putative class members, they had worked for Munger
before and were put in touch with CSI through Munger and Crowne Cold Storage in order to work in California.
In addition to not being involved with any transportation of workers out of or back to Mexico, all of the workers
processed by CSI for Munger and Sarbanand were for jobs in California. In addition to engaging in no FLC
conduct in the United States, CSI played no role in the transfer of H-2A or any other workers to Washington
state.

Thanks,

Adam


Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101
Direct: (206) 386-7516 | Fax: (206) 386-7500
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com><mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com><http://www.stoel.com/>

From: Joe Morrison [mailto:joe.morrison@ColumbiaLegal.org]
Sent: Monday, March 05, 2018 11:19 AM
To: Belzberg, Adam S.
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Yes, L&I. Thanks for gathering. Please send over contracts right away so we can evaluate.

Joe Morrison
(509) 662-9681 Ext. 125

From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Monday, March 05, 2018 11:06 AM
To: Joe Morrison
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

I'm out of the office today, but should be getting the contracts today. With respect to you question about ESD,
do you mean L&I?

Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101
Direct: (206) 386-7516 | Fax: (206) 386-7500
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com><mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com><http://www.stoel.com/>

From: Joe Morrison [mailto:joe.morrison@ColumbiaLegal.org]
Sent: Friday, March 02, 2018 4:03 PM
To: Belzberg, Adam S.
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

                                                        5

          DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
          PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
          VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 26
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Hi, Adam. Any progress on the documents?

Are you saying there were no other communications with ESD about CSI getting a license other than what's
down below?

Joe Morrison
(509) 662-9681 Ext. 125

From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Thursday, March 01, 2018 10:22 AM
To: Joe Morrison
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

There are no communications with ESD. I will send you the contracts related documents, but there are no
contracts or agreements of any kind between CSI Visa Processing S.A. and Munger or Sarbanand for their
operations in Sumas or anywhere else Washington state.

The only services CSI Visa Processing S.A. provided (wholly in Mexico) for Munger/Sarbanad were for
workers that Munger and/or Sarbanad were bringing to California (and apparently transferred internally to work
in Washington).

Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101
Direct: (206) 386-7516 | Fax: (206) 386-7500
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com><mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com><http://www.stoel.com/>

From: Joe Morrison [mailto:joe.morrison@ColumbiaLegal.org]
Sent: Thursday, March 01, 2018 10:13 AM
To: Belzberg, Adam S.
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Also, all communications with ESD re: licensing issues would also be helpful.

Joe Morrison
(509) 662-9681 Ext. 125

From: Joe Morrison
Sent: Thursday, March 01, 2018 10:12 AM
To: 'Belzberg, Adam S.'
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Thanks, Adam. We'll prepare an acceptance and send it over to you.

See highlight below in terms of what we're looking for. Of course, including all communications between CSI
and the Munger/Sarbanand folks would also help.

Joe Morrison
                                                      6

       DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
       PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
       VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 27
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(509) 662-9681 Ext. 125

From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Thursday, March 01, 2018 10:04 AM
To: Joe Morrison
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Hi Joe,

I'm sorry for the delay in getting back to you. I've been out of the office for the past week.

Yes. We'll accept service for CSI Visa Processing USA LLC, and would have been happy to do so if you'd
asked when we spoke weeks ago.

Our client has not been "evading process." As I've explained, during its brief existences CSI Visa Processing
USA LLC was never used for anything. You've got the wrong entity, but I'm not too sure what you're looking
for to evidence that fact. Let me know.

Thanks,

Adam




Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101
Direct: (206) 386-7516 | Fax: (206) 386-7500
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com><mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com><http://www.stoel.com/>

From: Joe Morrison [mailto:joe.morrison@ColumbiaLegal.org]
Sent: Thursday, March 01, 2018 9:53 AM
To: Belzberg, Adam S.
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Hi, Adam. Any word for us on whether you will accept service?

Joe Morrison
(509) 662-9681 Ext. 125

From: Joe Morrison
Sent: Tuesday, February 27, 2018 11:14 AM
To: 'Belzberg, Adam S.'
Cc: 'Sasse, Shelley'
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Good morning, Adam.

                                                         7

       DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
       PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
       VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 28
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I'm checking back in to see if you have any more information for us regarding your client. I'd also would like to
see if you will be accepting service as we've diligently tried to serve CSI and it appears they are evading the
process server.

Joe Morrison
(509) 662-9681 Ext. 125

From: Joe Morrison
Sent: Wednesday, January 31, 2018 5:26 PM
To: 'Belzberg, Adam S.'
Cc: Sasse, Shelley
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Thanks for your email, Adam. I appreciate you sending along the email string.

The email indicates to me that CSI is covered by FLCA. Ms. Macias states CSI engages in "recruiting" for
agricultural employers (the only employers that can use H-2A workers) and its primary job is advising H-2A
workers about the terms and conditions of employment in Washington state. As you know from a previous case
we settled, those are activities covered by FLCA. CSI contracted with Munger/Sarbanand for those services,
thus it was paid a fee to perform those services. Under the plain language of the statute, CSI was required to get
a license.

In terms of Ms. Soeteber's opinion that CSI did not need a license, there are multiple problems. First, Ms.
Soeteber is not an attorney, nor is she the Director of the program. As I understand, she no longer works for this
division of L&I. Therefore, she does not have the authority to decide whether CSI is covered by the statute or
not. Only a judge can ultimately make that legal determination.

Moreover, L&I's own "Farm Labor Contractor Fact Sheet" lists those entities that do not require licensure,
pursuant to exceptions listed in the statute:


* Employees of the Department of Employment Security or their agents;
* Common carriers or their full-time, regular employees;
* Anyone who hires, employs or transports agricultural employees for only one employer and who is working
on regular wages rather than on a commission or fee-per-worker basis;
* Non-profit corporations.

Nothing in the statute or L&I's "Fact Sheet" states that corporations like CSI are exempt. If there is a legal
opinion by a lawyer for the Department backing up Ms. Soeteber's personal opinion, I'm happy to take a look at
it. However, because the statute states, "any person . . . who, for a fee, performs any farm labor activity" must
get licensed, and "person" is defined as "any individual, firm, partnership, association, [or] corporation" we
believe CSI, as a corporation, is covered. RCW 19.30.010 (1) & (2).

Finally, CSI approached Ms. Soeteber in November of last year. FLCA requires contractor's to be fully licensed
before they perform any contracting activities. RCW 19.30.020 ("No person shall act as a farm labor contractor
until a license to do so has been issued . . ."). From what you've shared with me, it appears CSI only inquired
into its potential liability after the 2017 season had ended and all the events alleged in the complaint had already
happened. CSI was rightfully concerned that it hadn't complied with Washington law in the 2017 harvest
season.


                                                         8

       DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
       PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
       VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 29
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Of course it is up to you to advise your client as you see fit, but I would encourage your client to get licensed
for 2018 to avoid any future legal problems in regard to FLCA liability.

Turning to the issue of whether the entity we've named is the proper defendant, we need to see more
information about the corporate structure and the contract to make a full assessment. If you could provide
additional materials to demonstrate to us that CSI Visa Processing USA, LLC conducted no business that would
be helpful. Our goal is to ensure the proper entities are before the court, and we appreciate your willingness to
achieve the same goal.

Joe Morrison
(509) 662-9681 Ext. 125

From: Belzberg, Adam S. [mailto:adam.belzberg@stoel.com]
Sent: Wednesday, January 31, 2018 11:48 AM
To: Joe Morrison
Cc: Sasse, Shelley
Subject: FW: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Hi Joe,

See the 12/13/17 response from L&I below explaining that as a Mexican entity, CSI is not covered by the
FLCA and could not even register as a FLC if it wanted to.

As I also explained when we spoke a few minutes ago, the entity you sued, CSI Visa Processing USA LLC, was
formed a year ago (actually expires today) and has never been used for anything. No business of any kind has
been conducted through CSI Visa Processing USA LLC. Like all of CSI's clients, Sarbanand and Munger
contracted with CSI Visa Processing S.C. in Mexico.

This should be sufficient to avoid the need for a motion to dismiss, but let me know if you'll need a declaration
from L&I in order to withdraw the FLCA claim.

Thanks,

Adam



Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101
Direct: (206) 386-7516 | Fax: (206) 386-7500
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com><mailto:adam.belzberg@stoel.com> |
www.stoel.com<http://www.stoel.com><http://www.stoel.com/>


---------- Forwarded message ----------
From: Soeteber,Tisa (LNI)
<ZEPQ235@lni.wa.gov<mailto:ZEPQ235@lni.wa.gov><mailto:ZEPQ235@lni.wa.gov>>
Date: Wed, Dec 13, 2017 at 3:40 PM
Subject: RE: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity
To: Roxana Macias <rmacias@csivp.com<mailto:rmacias@csivp.com><mailto:rmacias@csivp.com>>
Hi Roxana,
                                                         9

          DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
          PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
          VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 30
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Thank you for your email and my apologies for the delay in responding to your request for information.
Please see my responses below in red:

Best Regards,

Tisa Soeteber
Agricultural Employment Standards Specialist Department of Labor & Industries
Phone: (360)902-4537
Fax: (360)902-5300
E-mail: zepq235@lni.wa.gov<mailto:zepq235@lni.wa.gov><mailto:zepq235@lni.wa.gov>




From: Roxana Macias [mailto:rmacias@csivp.com<mailto:rmacias@csivp.com>]
Sent: Wednesday, November 01, 2017 2:08 PM
To: Soeteber,Tisa (LNI)
<ZEPQ235@LNI.WA.GOV<mailto:ZEPQ235@LNI.WA.GOV><mailto:ZEPQ235@LNI.WA.GOV>>
Subject: Information Regarding Farm Labor Contractor Registration Requirement- Foreign Entity

Thank you so much for taking my call.

As i explained on the phone, CSI is a service provider in Mexico, that engages in recruiting foreign H-2A
workers. Our primary function is disclosing a work contract to workers Washington State employers seek to
employ. All of our services are rendered in Mexico.

Our questions are as follows:

Does CSI Visa Processing have an obligation to register with LNI as an FLC? No, because CSI Visa
Processing is located outside of the United States of America they are not required to register with L&I.

If there is no requirement, can CSI register, as a protection? No, as an out-of-country business they may not
register for a WA State farm labor contractor license.

Thanks again, I look forward to hearing back from you.


--


Best,

Roxana Macias
Director of Compliance
CSI Visa Processing
www.csivp.com<http://www.csivp.com><http://www.csivp.com>
+52 1(618)101-3794

<image001.jpg>


                                                       10

        DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
        PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
        VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 31
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This email and any attachments to it may be confidential and are intended solely for the use of the individual to
whom it is addressed. Any views or opinions expressed are solely those of the author and do not necessarily
represent those of CSI Visa Processing S.C. CSI does not provide legal advice. If you are not the intended
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Please contact the sender if you believe you have received this email in error.

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mostrar a nadie. Por favor, póngase en contacto con el remitente si cree que ha recibido este mensaje por error.



--


Best,

Roxana Macias
Director of Compliance
CSI Visa Processing
www.csivp.com<http://www.csivp.com><http://www.csivp.com>
+52 1(618)101-3794

<image002.jpg>


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whom it is addressed. Any views or opinions expressed are solely those of the author and do not necessarily
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        DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
        PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
        VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 32
